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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   STATE OF WASHINGTON, STATE OF                       NO. 2:25-CV-00848
     COLORADO, STATE OF CALIFORNIA,
11   STATE OF ARIZONA, STATE OF                          ORDER GRANTING PLAINTIFFS’
     DELAWARE, DISTRICT OF COLUMBIA,                     MOTION FOR PRELIMINARY
12   STATE OF HAWAIʻI, STATE OF                          INJUNCTION
     ILLINOIS, STATE OF MARYLAND,
13   STATE OF MINNESOTA, STATE OF                        [PROPOSED]
     NEW JERSEY, STATE OF NEW
14   MEXICO, STATE OF NEW YORK,                          NOTE ON MOTION CALENDAR:
     STATE OF OREGON, STATE OF                           JUNE 4, 2025
15   RHODE ISLAND, STATE OF VERMONT,
     STATE OF WISCONSIN,                                 ORAL ARGUMENT REQUESTED
16
                                PLAINTIFFS,
17
     V.
18
     U.S. DEPARTMENT OF
19   TRANSPORTATION; SEAN DUFFY, IN
     HIS OFFICIAL CAPACITY AS
20   SECRETARY OF TRANSPORTATION;
     FEDERAL HIGHWAY
21   ADMINISTRATION; AND GLORIA M.
     SHEPHERD, IN HER OFFICIAL
22   CAPACITY AS ACTING
     ADMINISTRATOR OF THE FEDERAL
23   HIGHWAY ADMINISTRATION,
24                            DEFENDANTS
25          This matter came before the Court on the Motion for Preliminary Injunction by States of

26   Washington, California, Colorado, Arizona, Delaware, Hawaii, Illinois, Maryland, Minnesota,


     ORDER GRANTING PLAINTIFFS’                     1              ATTORNEY GENERAL OF WASHINGTON
                                                                       Environmental Protection Division
     MOTION FOR PRELIMINARY                                              800 Fifth Avenue STE 2000
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 1   New Jersey, New Mexico, New York, Oregon, Rhode Island, Vermont, Wisconsin, and the
 2   District of Columbia (collectively, Plaintiff States). Having considered the Motion, Defendants’
 3   response, if any, and the arguments of the parties, if any, the Court, for the reasons stated in the
 4   accompanying Memorandum and Opinion, hereby ORDERS that:
 5          1.        Defendants and all their respective officers, agents, servants, employees and
 6   attorneys, and any person in active concert or participation with them who receive actual notice
 7   of this order are hereby fully enjoined from the following:
 8          a.        Categorically “suspending” or revoking approvals of Plaintiff States’ State
 9      Electric Vehicle Infrastructure Deployment Plans;
10          b.        Withholding or withdrawing NEVI Formula Program funds for any reason not
11      set forth in the IIJA or applicable FHWA regulations, and without following the IIJA’s
12      procedural requirements, including by refusing to review and process Plaintiff States’
13      requests for authorization to obligate funds for specific EV charging infrastructure
14      development activities in the normal course.
15          c.        Effectuating a categorical suspension or termination of the NEVI Formula
16      Program for Plaintiff States through any other means.
17          2.        Defendants’ attorneys shall provide written notice of this Order to all Defendants
18   and agencies and their employees or contractors with responsibility for administering the NEVI
19   Formula Program by              , 2025. Defendants shall file a copy of the notice on the docket at
20   the same time.
21          This preliminary injunction remains in effect pending further orders from this Court.
22

23           DATED this           day of                      2025.
24

25
                                                    THE HONORABLE
26                                                  UNITED STATES DISTRICT JUDGE


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